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                      IN THE DISTRICT COURT OF THE UNITED STATES

                           FOR THE DISTRICT OF SOUTH CAROLINA


UNITED STATES OF AMERICA                          )                CR. NO.: 8:19-181
                                                  )
                                                  )
                                                  )
                vs.                               )
                                                  )        WAIVER OF DETENTAION HEARING
                                                  )         (WITHOUT PREJUDICE)
RICHARD LAMOND LONGSHORE                          )



        Defendant, RICHARD LAMOND LONGSHORE, by and through undersigned counsel,

hereby formally waives his right to a detention hearing at this time, however reserving the right to file for

a hearing in the future once more information and discovery is shared.



                                                           Respectfully submitted,

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